        EXHIBIT A




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              INDEX OF PLEADINGS FILED IN CASE NO. 1616-CV29724
                       [THE STATE COURT PLEADINGS]



Ex. No.    Date            Description
A-1        01/20/2017      Docket Sheet
A-2        12/14/2016      Petition for Damages
A-3        12/14/2016      Affidavit for Service by Certified Mail
A-4        12/20/2016      Summons - KSHB-TV
A-5        12/20/2016      Summons - Scripps Media
A-6        12/20/2016      Notice of Case Management Conference for Civil Case and Order
                           for Mediation




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                   1616-CV29724 - LISA BENSON COOPER V KSHB-TV ET AL (E-CASE)


                             This information is provided as a service and is not considered an official court record.
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                                                                                      Descending
                                                                                                                          All Entries      
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12/20/2016        Summons Issued-Reg/Cert Mail
                  Document ID: 16-SMCM-270, for SCRIPPS MEDIA.
                  Summons Issued-Reg/Cert Mail
                  Document ID: 16-SMCM-269, for KSHB-TV.
                  Case Mgmt Conf Scheduled
                    Scheduled For: 04/03/2017; 9:00 AM ; JOEL P FAHNESTOCK; Jackson - Kansas City

12/14/2016        Request for Jury Trial Filed
                  Judge Assigned
                  Filing Info Sheet eFiling
                      Filed By: DENNIS EDWARD EGAN
                  Note to Clerk eFiling
                    Filed By: DENNIS EDWARD EGAN
                  Affidavit for Service by Mail
                  Affidavit for Service by Certified Mail to 2 Defendants.
                      Filed By: DENNIS EDWARD EGAN
                  Pet Filed in Circuit Ct
                  Petition.
                     On Behalf Of: LISA BENSON COOPER
Case.net Version 5.13.15.1                                  Return to Top of Page                                         Released 01/19/2017




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https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                           1/23/2017
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                                                                                          Electronically Filed - Jackson - Kansas City - December 14, 2016 - 02:43 PM
                                                                         1616-CV29724

            IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                             AT KANSAS CITY

LISA BENSON COOPER,                 )
6026 Euclid Avenue                  )
Kansas City, MO 64130               )
                                    )
      Plaintiff,                    )
                                    )                   Case No.:
v.                                  )
                                    )
KSHB-TV,                            )
4720 Oak Street                     )
Kansas City, MO 64112               )
                                    )
      SERVE: Under Rule 54.13(b)(3) )
      President and General Manager )
      Brian Bracco                  )                   DEMAND FOR JURY TRIAL
      4720 Oak Street               )
      Kansas City, MO 64112         )
                                    )
and                                 )
                                    )
SCRIPPS MEDIA, INC.                 )
312 Walnut Street, Suite 2800       )
Cincinnati, OH 45202                )
                                    )
      SERVE:                        )
      CSC-Lawyers Incorporating     )
      Service Company               )
      221 Bolivar Street            )
      Jefferson City, MO 65101      )
                                    )
      Defendants.                   )

                                 PETITION FOR DAMAGES

       COMES NOW Plaintiff Lisa Benson Cooper, and for her causes of action against all

defendant(s) alleges and avers as follows:




                                             1

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                                                                                                       Electronically Filed - Jackson - Kansas City - December 14, 2016 - 02:43 PM
            PARTIES, GENERAL ALLEGATIONS, JURISDICTION AND VENUE

       1.       Plaintiff Lisa Benson Cooper (hereinafter “Plaintiff”) is an individual currently

residing in Kansas City, Missouri. At all relevant times she was employed by KSHB-TV,

Channel 41.

       2.       Defendant KSHB-TV, Channel 41, has at all relevant times been a citizen of

Missouri. Its exclusive and principal place of business has at all relevant times been in Jackson

County, Missouri. Its exclusive and principal place of business now is 4720 Oak Street, Kansas

City, MO 64112. KSHB-TV, Channel 41 may be served under Rule 54.13(b)(3) by leaving a

copy of the Summons and Petition with the person in charge of the office at 4720 Oak Street,

Kansas City, MO 64112. KSHB-TV is the registered legal name for plaintiff’s employer, and a

copy of the pertinent document for KSHB-TV, Charter Number X01030338, “State of Business:

MO.” is attached as Exhibit “A” and incorporated by reference.

       3.       Defendant SCRIPPS MEDIA, INC., is a corporation organized and existing under

the laws of the State of Ohio, which has been, at all times relevant to the lawsuit, the controlling

entity of Kansas City television station KSHB-TV, Channel 41. Scripps does business in

Missouri – and for purposes of the transactions, conduct and occurrences raised herein, its sole

and principal place of business in Missouri is 4720 Oak Street, Kansas City, MO 64112, Jackson

County, Missouri, thus rendering Scripps Media, Inc., a citizen of Missouri. Scripps may be

served by and through its Registered Agent, CSC-Lawyers incorporating Service Company, 221

Bolivar Street, Jefferson City, MO 65101. This defendant, at all times pertinent to this action,

has operated and done business through its affiliated defendant, KSHB-TV, Channel 41, always

in the state of Missouri.




                                                  2

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                                                                                                    Electronically Filed - Jackson - Kansas City - December 14, 2016 - 02:43 PM
       4.       Defendants, at all times relevant hereto, constitute “an employer” within the

meaning of the Missouri Human Rights Act (“MHRA”), §213.010, et seq., RSMo.

       5.       Defendants employ (and at all times relevant hereto have employed) far in excess

of six (6) employees, so as to come within the coverage of the MHRA, §213.010, et seq., RSMo.

       6.       Both jurisdiction and venue are proper in this Court. This Court has original

subject matter jurisdiction over all of plaintiff’s Missouri state causes of action. KSHB-TV,

Channel 41 is located exclusively in Jackson County, Missouri, and its sole and principal place

of business is at 4720 Oak Street, Kansas City, MO 64112. All of the unlawful employment

practices were committed in Missouri.

       7.       This Court has jurisdiction over plaintiff’s discrimination claims arising out of

Missouri law, pursuant to §213.010, et seq., specifically §213.111, RSMo.

       8.       Plaintiff seeks damages in excess of this Court’s jurisdictional minimum of

$25,000.

       9.       On June 1, 2015, plaintiff filed her first Charge of Discrimination alleging race

discrimination, retaliation and hostile work environment. On September 21, 2015, plaintiff filed

a second Charge of Discrimination alleging further retaliation. Plaintiff’s Charges of

Discrimination Number(s) E-06/15-45311 and E-09/15-45795 are attached hereto collectively as

Exhibit “B,” and incorporated herein by reference.

       10.      On September 20, 2016, the MCHR issued plaintiff her Notice of Right to Sue for

Missouri Charge Number E-06/15-45311. On December 13, 2016, the MCHR issued plaintiff

her second Notice of Right to Sue for Missouri Charge Number E-09/15-45795. They are

attached hereto collectively as Exhibit “C,” and incorporated by reference.




                                                  3

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       11.     This action has been timely commenced by the filing of the Petition within ninety

(90) days after the date written on the Notice of Right to Sue. Therefore, plaintiff has duly and

completely met all administrative requirements of the MHRA.

                                 COUNT 1
               RACE DISCRIMINATION, RETALIATION AND HOSTILE
                 WORK ENVIRONMENT IN VIOLATION OF MHRA


       12.     Plaintiff began her employment with KSHB-TV on March 8, 2004, as a general

assignment reporter. She currently holds the same title.

       13.     Throughout her tenure with KSHB-TV, plaintiff has applied for numerous

promotions and has yet to receive one. The positions are consistently rewarded to white

employees with far less experience than plaintiff.

       14.     In 2010, Plaintiff complained that she was consistently being sent to the urban

core for all of her stories. Shortly after the complaint, she was asked to go to a KKK member’s

house alone. This is further evidence that plaintiff’s race is constantly used in deciding where, or

on what topics, she would be reporting.

       15.     While on maternity leave in 2013, Caucasian female Carrie Hoffman was hired as

the news director. Shortly after that, Najahe Sherman’s contract was not renewed. While still on

maternity leave, plaintiff expressed interest in the open position. Upon her return in May 2013,

plaintiff learned that the position was given to Lindsay Shively, a white female with far less

experience.

       16.     In August 2013, plaintiff was offered a 2-year reporter contract. During this time

frame, plaintiff was repeatedly sent out to the urban core for all of her assignments. Plaintiff

complained that she was only being sent to the urban core of the city. The response to her




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complaint was, “….well that is what you are used to,” obviously meaning because of her race,

African American.

       17.     In 2014, plaintiff applied to be a “Leadership Champion” at the station to help the

newsroom’s less experienced journalists and improve her own career. Plaintiff did not receive

the position. Instead, it was given to a white male and a white female. Five months later, the

“Leadership Champion” position became available again. The position was again awarded to a

white male. No objective rationale exists for these choices.

       18.     In January of 2015, plaintiff applied to be a Consumer Reporter, Investigative

Reporter and a Weekend Morning Anchor. Plaintiff was not considered for any of the positions.

In fact, they were all filled by two white males and one white female. No legitimate, non-

discriminatory rationale exists for this choice.

       19.     In April 2015, a white female with less experience than plaintiff was hired as a

consumer reporter. Additionally, KSHB expanded the weekend newscasts affecting plaintiff’s

schedule. Plaintiff presented a proposal to Carrie Hoffman, News Director, to work only on

weekdays rather than continuing on the weekend. Later in a meeting, in front of the executive

producer and HR manager, Ms. Hofmann informed plaintiff that she was an “inconsistent,

unbalanced reporter” who is “not good enough” to work the Monday through Friday dayside

shift. This was the first time plaintiff had been informed of any performance issues. In fact and

to the contrary, all of plaintiff’s performance evaluations had been “meets expectations.”

       20.     On May 19, 2015, plaintiff met with Melissa Greenstein, Assistant News

Director, in the newsroom for a scheduled feedback session. In the meeting, Ms. Greenstein

questioned plaintiff’s decision to use file video for a flooding story. Plaintiff explained her

reasoning and reiterated that if Ms. Greenstein ever had a specific video request she would honor



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the request. At that point, Ms. Greenstein became extremely agitated and said, “You are not

listening.” She then gathered her things and abruptly left the meeting. Later that same day,

plaintiff received an email from Ms. Greenstein (falsely) stating that plaintiff was not receptive

and combative during the feedback session.

       21.     On May 21, 2015, plaintiff received a telephone call from Jessica Eggers, KSHB-

TV Human Resources Director. Ms. Eggers wanted to schedule a meeting for May 22, 2015.

       22.     On May 23, 2015, Plaintiff called the Ethicpoint Line to report ongoing

differential treatment, racial discrimination and a hostile work environment connected to

Plaintiff’s race. Plaintiff feared retaliatory actions would take place during the upcoming

meeting. Her fears came true.

       23.      Plaintiff met with Ms. Eggers and Carrie Hoffman on May 22, 2015. Ms. Eggers

shocked plaintiff by suspending her for 2-days without pay for supposedly “combative” behavior

during the feedback session with Ms. Greenstein. Plaintiff objected and denied that her behavior

was anything other than respectful. Ms. Hoffman stated that “an investigation” had taken place,

and it was determined that plaintiff’s “tone” was inappropriate. Plaintiff was never interviewed,

nor was she aware of the so-called investigation. This was the first discipline plaintiff had ever

received while working for KSHB-TV.

       24.     In September 2015, plaintiff was contacted by Corporate Human Resources via

telephone to inform her that since plaintiff had filed her Charge of Discrimination that they were

no longer able to assist in the investigation of plaintiff’s complaints of race discrimination. The

female from Human Resources stated, “I want to help you figure out what is best for your

future.” There was a very heavy emphasis placed on the “cost of an attorney” to defend the




                                                 6

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Charges of Discrimination. Plaintiff read between the lines that there was a threatening

undertone in that ominous reference to her “future.”

       25.     Plaintiff has been treated differently and her race is a contributing factor. Plaintiff

is entitled to all actual damages for all harms and losses suffered in the form of lost

compensation and benefits, for all non-economic damages such as career disruption, pain and

suffering, mental anguish, anxiety and emotional distress. Defendant’s actions are in reckless

disregard of plaintiff’s rights under the MHRA.

       26.     Plaintiff is entitled to all actual damages and to punitive damages in such amounts

as will be proven at trial and found to be reasonable by a jury.

       WHEREFORE, plaintiff prays for judgment after jury trial, awarding plaintiff all actual

damages and losses shown in evidence and determined by the jury to be fair and reasonable, for

prejudgment interest, for punitive damages, for attorneys’ fees, costs and expenses, and for such

other relief as the Court deems proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by a jury on all issues raised herein.

                                               Respectfully submitted,

                                               THE POPHAM LAW FIRM

                                               By:/s/ Dennis E. Egan
                                               DENNIS E. EGAN - MO 27449
                                               712 Broadway, Suite 100
                                               Kansas City, MO 64105
                                               Telephone: (816) 221-2288
                                               Telecopier: (816) 221-3999
                                               degan@pophamlaw.com
                                               ATTORNEYS FOR PLAINTIFFS




                                                  7

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                                                                                                            EX.A
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                                                                                                             EX.B-1
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                                                                                                                                                                                                                            Electronically Filed - Jackson - Kansas City - December 14, 2016 - 02:43 PM
                                    MISSOURI DEPARTMENT OF LABOR AND INDUSTRIAL RELATIONS
                              MISSOURI COMMISSION ON HUMAN RIGHTS
JEREMIAH W. (J AY) NIXON                         RYAN MCKENNA                                           SARA NELL LAMPE                                ALISA WARREN, PH.D.
        GOVERNOR                              DEPARTMENT DIRECTOR                                    COMMISSION CHAIRPERSON                            EXECUTIVE DIRECTOR



September 20, 2016




                                                                                                                                                                                                             E-6/15-45311
Lisa Benson Cooper




                                                                                                                                                                                Administrative Use/Records
6026 Euclid Ave.
Kansas City, MO 64130


RE: Cooper vs. KSHB TV
    E-6/15-45311 28E-2015-01132


The Missouri Commission on Human Rights (MCHR) is terminating its proceedings and issuing this
notice of your right to sue under the Missouri Human Rights Act because you have requested a
notice of your right to sue.

This letter indicates your right to bring a civil action within 90 days of this notice against the
respondent(s) named in the complaint. Such an action may be brought in any circuit court in any
county in which the unlawful discriminatory practice is alleged to have occurred but it must be
brought no later than two years after the alleged cause occurred or its reasonable discovery. Upon
issuance of this notice, the MCHR is terminating all proceedings relating to the complaint. No person
may file or reinstate a complaint with the MCHR after the issuance of a notice of right to sue relating
to the same practice or act. You are hereby notified of your right to sue the Respondent(s) named in
your complaint in state circuit court. THIS MUST BE DONE WITHIN 90 DAYS OF THE DATE OF
THIS NOTICE OR YOUR RIGHT TO SUE IS LOST.

You are also notified that the Executive Director is hereby administratively closing this case and
terminating all MCHR proceedings relating to it. This notice of right to sue has no effect on the suit-
filing period for any federal claims. This notice of right to sue is being issued as required by Section
213.111.1, RSMo, because it has been requested in writing 180 days after filing of the
complaint. This complaint was being initially processed by the EEOC and MCHR has not been
notified of their determination. Please note that administrative processing of this complaint,
including determinations of jurisdiction, has not been completed.



(continued on next page)




     3315 W. T RUMAN B LVD.      111 N. 7TH S TREET, S UITE 903             P.O. B OX 1300                1410 GENESSEE, S UITE 260                 106 A RTHUR S TREET
         P.O. B OX 1129            S T. LOUIS, MO 63101-2100           OZARK, MO 65721-1300                KANSAS CITY, MO 64102                           SUITE D
JEFFERSON CITY, MO 65102-1129         PHONE: 314-340-7590                FAX: 417-485-6024                    FAX: 816-889-3582                  SIKESTON, MO 63801-5454
     PHONE: 573-751-3325                FAX: 314-340-7238                                                                                            FAX: 573-472-5321
       FAX: 573-751-2905
      Missouri Commission on Human Rights is an equal opportunity employer/program. Auxiliary aides and services are available upon request to individuals with disabilities.
                                                       TDD/TTY: 1-800-735-2966 (TDD) Relay Missouri: 711
                                                  www.labor.mo.gov/mohumanrights           E-Mail: mchr@labor.mo.gov
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                                                                                                                                                                                Electronically Filed - Jackson - Kansas City - December 14, 2016 - 02:43 PM
                                                             RE: Cooper vs. KSHB TV
                                                          E-6/15-45311 28E-2015-01132


Respectfully,




Alisa Warren, Ph.D.
Executive Director


KSHB TV
4720 Oak St.
Kansas City, MO 64112


M. Scott McIntyre
312 Walnut, Suite 3200
Cincinnati, OH 45202-4074


Dennis Egan
712 Broadway, Suite 100
Kansas City, MO 64105’
Via email




     3315 W. T RUMAN B LVD.      111 N. 7TH S TREET, S UITE 903             P.O. B OX 1300                1410 GENESSEE, S UITE 260                 106 A RTHUR S TREET
         P.O. B OX 1129            S T. LOUIS, MO 63101-2100           OZARK, MO 65721-1300                KANSAS CITY, MO 64102                           SUITE D
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                                                  www.labor.mo.gov/mohumanrights           E-Mail: mchr@labor.mo.gov
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                                                                                                                                                                                Electronically Filed - Jackson - Kansas City - December 14, 2016 - 02:43 PM
                                    MISSOURI DEPARTMENT OF LABOR AND INDUSTRIAL RELATIONS
                              MISSOURI COMMISSION ON HUMAN RIGHTS
JEREMIAH W. (J AY) NIXON                         RYAN MCKENNA                                           SARA NELL LAMPE                                ALISA WARREN, PH.D.
        GOVERNOR                              DEPARTMENT DIRECTOR                                    COMMISSION CHAIRPERSON                            EXECUTIVE DIRECTOR



December 13, 2016


Lisa Benson
6026 Euclid Ave.
Kansas City, MO 64130


RE: Benson vs. KSHB TV
    E-9/15-45795 28E-2015-01707


The Missouri Commission on Human Rights (MCHR) is terminating its proceedings and issuing this
notice of your right to sue under the Missouri Human Rights Act because you have requested a
notice of your right to sue.

This letter indicates your right to bring a civil action within 90 days of this notice against the
respondent(s) named in the complaint. Such an action may be brought in any circuit court in any
county in which the unlawful discriminatory practice is alleged to have occurred but it must be
brought no later than two years after the alleged cause occurred or its reasonable discovery. Upon
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You are also notified that the Executive Director is hereby administratively closing this case and
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213.111.1, RSMo, because it has been requested in writing 180 days after filing of the
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notified of their determination. Please note that administrative processing of this complaint,
including determinations of jurisdiction, has not been completed.



(continued on next page)




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       FAX: 573-751-2905
      Missouri Commission on Human Rights is an equal opportunity employer/program. Auxiliary aides and services are available upon request to individuals with disabilities.
                                                       TDD/TTY: 1-800-735-2966 (TDD) Relay Missouri: 711
                                                  www.labor.mo.gov/mohumanrights           E-Mail: mchr@labor.mo.gov
                        Case 4:17-cv-00041-BP Document 1-2 Filed 01/23/17 Page 21 EX.C-2
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                                                                                                                                                                                Electronically Filed - Jackson - Kansas City - December 14, 2016 - 02:43 PM
                                                              RE: Benson vs. KSHB TV
                                                            E-9/15-45795 28E-2015-01707


Respectfully,




Alisa Warren, Ph.D.
Executive Director


KSHB TV
4720 Oak Street
Kansas City, MO 64112


M. Scott McIntyre
213 Walnut Street, Suite 3200
Cincinnati, OH 45202


Aly Pack
712 Broadway, Suite 100
Kansas City, MO 64105
Via email




     3315 W. T RUMAN B LVD.      111 N. 7TH S TREET, S UITE 903             P.O. B OX 1300                1410 GENESSEE, S UITE 260                 106 A RTHUR S TREET
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JEFFERSON CITY, MO 65102-1129         PHONE: 314-340-7590                FAX: 417-485-6024                    FAX: 816-889-3582                  SIKESTON, MO 63801-5454
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                                                  www.labor.mo.gov/mohumanrights           E-Mail: mchr@labor.mo.gov
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      EXHIBIT A-4




Case 4:17-cv-00041-BP Document 1-2 Filed 01/23/17 Page 26 of 34
              IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                         Case Number: 1616-CV29724
 JOEL P FAHNESTOCK
 Plaintiff/Petitioner:                                      Plaintiff’s/Petitioner’s Attorney/Address:
 LISA BENSON COOPER                                         DENNIS EDWARD EGAN
                                                            THE POPHAM LAW FIRM, P.C.
                                                            712 BROADWAY
                                                            SUITE 100
                                                    vs.     KANSAS CITY, MO 64105
 Defendant/Respondent:                                      Court Address:
 KSHB-TV                                                    415 E 12th
                                                            KANSAS CITY, MO 64106

 Nature of Suit:
 CC Employmnt Discrmntn 213.111                                                                                            (Date File Stamp)

                                Summons for Service by Registered or Certified Mail
 The State of Missouri to: KSHB-TV
 BRIAN BRACCO - GENERAL MANAGER
 4720 OAK STREET
 KANSAS CITY, MO 64112


                                       You are summoned to appear before this court and to file your pleading to the petition, copy
      COURT SEAL OF
                                 of which is attached, and to serve a copy of your pleading upon the attorney for the
                                 Plaintiff/Petitioner, or Plaintiff/Petitioner, if pro se, at the above address all within 30 days after the
                                 return registered or certified mail receipt signed by you has been filed in this cause. If you fail to
                                 file your pleading, judgment by default will be taken against you for the relief demanded in the
                                 petition.

                                             20-DEC-2016                               ________________________________________________
     JACKSON COUNTY                           Date Issued                                                   Clerk

                                 Further Information:



                                                          Certificate of Mailing
         I certify that on December 20, 2016, I mailed a copy of this summons and a copy of the petition to
    Defendant/Respondent KSHB-TV by registered or certified mail, requesting a return receipt by the addressee only, to the said
    Defendant/Respondent at the address furnished by Plaintiff/Petitioner.


    _______December 20, 2016__________________                         ____________________________________________
                   Date                                                                            Clerk


                               USPS TRACKING NUMBER 9214 8901 0661 5400 0100 0580 37




OSCA (7-99) SM90 (JAKSMCM) For Court Use Only: Document ID # 16-SMCM-269                 1 of 2
                          CaseRSMo
S.C. Form 4; Rule 54.12b, 506.150 4:17-cv-00041-BP Document 1-2                 Filed 01/23/17 Page 27 of 34
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org → Electronic Filing Information → Required Documents for Service – eFiled cases →
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                     Circuit Court of Jackson County




             Case 4:17-cv-00041-BP
Revised	7/3/13	                         Document 1-2 Filed 01/23/17 Page 28 of 34
                        Service	Information	‐	Attorney	
      EXHIBIT A-5




Case 4:17-cv-00041-BP Document 1-2 Filed 01/23/17 Page 29 of 34
              IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                         Case Number: 1616-CV29724
 JOEL P FAHNESTOCK
 Plaintiff/Petitioner:                                      Plaintiff’s/Petitioner’s Attorney/Address:
 LISA BENSON COOPER                                         DENNIS EDWARD EGAN
                                                            THE POPHAM LAW FIRM, P.C.
                                                            712 BROADWAY
                                                            SUITE 100
                                                    vs.     KANSAS CITY, MO 64105
 Defendant/Respondent:                                      Court Address:
 KSHB-TV                                                    415 E 12th
                                                            KANSAS CITY, MO 64106

 Nature of Suit:
 CC Employmnt Discrmntn 213.111                                                                                            (Date File Stamp)

                                Summons for Service by Registered or Certified Mail
 The State of Missouri to: SCRIPPS MEDIA

 R.A.- CSC LAWYERS INC. SRV. CO
 221 BOLIVAR ST.
 JEFFERSON CITY, MO 65101


                                       You are summoned to appear before this court and to file your pleading to the petition, copy
      COURT SEAL OF
                                 of which is attached, and to serve a copy of your pleading upon the attorney for the
                                 Plaintiff/Petitioner, or Plaintiff/Petitioner, if pro se, at the above address all within 30 days after the
                                 return registered or certified mail receipt signed by you has been filed in this cause. If you fail to
                                 file your pleading, judgment by default will be taken against you for the relief demanded in the
                                 petition.

                                             20-DEC-2016                               ________________________________________________
     JACKSON COUNTY                           Date Issued                                                   Clerk

                                 Further Information:



                                                          Certificate of Mailing
         I certify that on December 20, 2016, I mailed a copy of this summons and a copy of the petition to
    Defendant/Respondent SCRIPPS MEDIA by registered or certified mail, requesting a return receipt by the addressee only, to
    the said Defendant/Respondent at the address furnished by Plaintiff/Petitioner.


    ___ December 20, 2016____________                                  ____________________________________________
                   Date                                                                            Clerk

                                USPS TRACKING NUMBER 9214 8901 0661 5400 0100 0585 70




OSCA (7-99) SM90 (JAKSMCM) For Court Use Only: Document ID # 16-SMCM-270                 1 of 2
                          CaseRSMo
S.C. Form 4; Rule 54.12b, 506.150 4:17-cv-00041-BP Document 1-2                 Filed 01/23/17 Page 30 of 34
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



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accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
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Please review this information periodically, as revisions are frequently made. Thank you.



                                                     Circuit Court of Jackson County




             Case 4:17-cv-00041-BP
Revised	7/3/13	                         Document 1-2 Filed 01/23/17 Page 31 of 34
                        Service	Information	‐	Attorney	
      EXHIBIT A-6




Case 4:17-cv-00041-BP Document 1-2 Filed 01/23/17 Page 32 of 34
             IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                              AT KANSAS CITY

LISA BENSON COOPER,

                        PLAINTIFF(S),                            CASE NO. 1616-CV29724
VS.                                                              DIVISION 9

KSHB-TV,

                        DEFENDANT(S).

       NOTICE OF CASE MANAGEMENT CONFERENCE FOR CIVIL CASE
                        AND ORDER FOR MEDIATION
______________________________________________________________________________

          NOTICE IS HEREBY GIVEN that a Case Management Conference will be held with the
Honorable JOEL P FAHNESTOCK on 03-APR-2017 in DIVISION 9 at 09:00 AM. All
Applications for Continuance of a Case Management Conference should be filed on or before
Wednesday of the week prior to the case management setting. Applications for Continuance of a
Case Management Conference shall comply with Supreme Court Rule and 16th Cir. R. 34.1.
Continuance of a Case Management Conference will only be granted for good cause shown because
it is the desire of the Court to meet with counsel and parties in all cases within the first 4 months that
a case has been on file. All counsel and parties are directed to check Case.NET on the 16th Judicial
Circuit web site at www.16thcircuit.org after filing an application for continuance to determine
whether or not it has been granted.

        A lead attorney of record must be designated for each party as required by Local Rule 3.5.1.
 A separate pleading designating the lead attorney of record shall be filed by each party as described
in Local Rule 3.5.2. The parties are advised that if they do not file a separate pleading designating
lead counsel, even in situations where there is only one attorney representing the party, JIS will not
be updated by civil records department, and copies of orders will be sent to the address currently
shown in JIS. Civil Records does not update attorney information from answers or other pleadings.
The Designation of Lead Attorney pleading shall contain the name of lead counsel, firm name,
mailing address, phone number, FAX number and E-mail address of the attorney who is lead
counsel.
       At the Case Management Conference, counsel should be prepared to address at least the
following:

        a.      A trial setting;
        b.      Expert Witness Disclosure Cutoff Date;
        c.      A schedule for the orderly preparation of the case for trial;
        d.      Any issues which require input or action by the Court;
        e.      The status of settlement negotiations.


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                                                                                              Rev 5/2012
         Case 4:17-cv-00041-BP Document 1-2 Filed 01/23/17 Page 33 of 34
                                           MEDIATION
        The parties are ordered to participate in mediation pursuant to Supreme Court Rule 17.
Mediation shall be completed within 10 months after the date the case if filed for complex cases,
and 6 months after the date the case is filed for other circuit cases, unless otherwise ordered by
the Court. Each party shall personally appear at the mediation and participate in the process. In
the event a party does not have the authority to enter into a settlement, then a representative of
the entity that does have actual authority to enter into a settlement on behalf of the party shall
also personally attend the mediations with the party.

        The parties shall confer and select a mutually agreeable person to act as mediator in this
case. If the parties are unable to agree on a mediator the court will appoint a mediator at the
Case Management Conference.

       Each party shall pay their respective pro-rata cost of the mediation directly to the
mediator.

                                  POLICIES/PROCEDURES
       Please refer to the Court’s web page www.16thcircuit.org for division policies and
procedural information listed by each judge.


                                              /S/ JOEL P FAHNESTOCK
                                              JOEL P FAHNESTOCK, Circuit Judge


                                       Certificate of Service

         This is to certify that a copy of the foregoing was mailed postage pre-paid or hand
delivered to the plaintiff with the delivery of the file-stamped copy of the petition. It is further
certified that a copy of the foregoing will be served with the summons on each defendant named
in this action.

Attorney for Plaintiff(s):
DENNIS EDWARD EGAN, THE POPHAM LAW FIRM, P.C., 712 BROADWAY, SUITE
100, KANSAS CITY, MO 64105

Defendant(s):
KSHB-TV
SCRIPPS MEDIA

Dated: 20-DEC-2016                                              Jeffrey A. Eisenbeis
                                                                Court Administrator




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                                                                                         Rev 5/2012
         Case 4:17-cv-00041-BP Document 1-2 Filed 01/23/17 Page 34 of 34
